
321 N.W.2d 71 (1982)
212 Neb. 29
NEBRASKA FEDERAL SAVINGS AND LOAN ASSOCIATION, Appellee,
v.
Robert L. PATTERSON et al., Appellants.
No. 44528.
Supreme Court of Nebraska.
June 25, 1982.
Quintin S. Hughes, Bellevue, for appellants.
Morsman, Fike, Davis &amp; Schleich, P. C., Omaha, for appellee.
Submitted without oral argument.
Before KRIVOSHA, C. J., and BOSLAUGH, McCOWN, CLINTON, WHITE, HASTINGS, and CAPORALE, JJ.
PER CURIAM.
The defendant landowners appeal from the order of the District Court confirming the sale of the property upon foreclosure of a mortgage to the plaintiff mortgagee. The decree of foreclosure, entered December 2, 1980, found there was then due the plaintiff $34,008.44. Upon the stipulation of the parties, execution of the judgment was stayed as provided in Neb.Rev.Stat. § 25-1506 (Reissue 1979).
An order of sale was issued on March 3, 1981, and the property was sold to the plaintiff for $29,000 on April 6, 1981. An objection to confirmation was filed on April 24, 1981, alleging that the bid did not represent the fair value of the property and that another sale would produce a larger bid. At the hearing on the motion to confirm on June 2, 1981, the plaintiff waived any right to a deficiency judgment by increasing its bid to the amount due under the decree and the sale was confirmed.
*72 The principal evidence in support of the objection to confirmation was the testimony of the defendant Margaret A. Patterson that the value of the property was at least $55,000 to $60,000. There was no satisfactory evidence that the property was not sold for its fair value, under the circumstances and conditions of the sale, or that a subsequent sale would realize a greater amount. See Neb.Rev.Stat. § 25-1531 (Reissue 1979).
An order confirming a judicial sale under a decree foreclosing a mortgage on real estate will not be reversed on appeal for inadequacy of price, when there was no fraud or shocking discrepancy between value and the sale price, and where there is no satisfactory evidence that a higher bid could be obtained in the event of another sale. Central Savings Bank v. First Cadco Corp., 186 Neb. 112, 181 N.W.2d 261 (1970).
The judgment of the District Court is affirmed.
AFFIRMED.
